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I.]NITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT


       JIN            BI


        - against -                                           Case#:   3   :1    8-CV-00023-AVC


       ABC CORP.. OTN JU XIA                                     ANSWER




                                               I
                                     AnmrsstoNs nxu DnNtnls


 l.    Denied,
 2.    Denied,
 3.    Admitted,
 4,    Lack of enough information,
 5.    Admitted,
                                                                                           Ê
 6.    Admitted.                                                           ;;
                                                                                           (--t
                                                                                           €0
 7.    Knowledge and information,
                                                                                I                         rl
 8.    Denied,                                                                              ¡ì
 9.    Denied,                                                             -'-\ .\
 10.   Denied,                                                                               i-,1   l
                                                                           ,    i-)                            j
 11.   Denied,                                                             ''    --\
 12.   Denied,                                                             - t1)                  ú
                                                                                                               ")
 13.   Denied,
 14.   Denied,                                                                                      rJ
                                                                                    ---t            \}J
 15.   Denied,
 16. Denied,
 17. Denied,
 18. Denied,
 19. Denied,
 20.   Denied,
 21.   Information and Beliet
 22.   Denied,
 23.   lnformation and Belief,
 24.   lnformation and Belief,
 25.   Denied,
 26.   Knowledge or Information,
 27.   Information and Belief,
 28.   Information and Beliel
 29.   Denied,
 30.   Denied,
 31.   Denied,
 32.   Denied,
 33.   Denied,
 34.   Denied,
 35.   Denied,
 36.   Denied,
 37.   Denied,
 38.   Denied,
         Case 3:18-cv-00023-AVC Document 7 Filed 02/05/18 Page 2 of 4

39, Denied,
40. Denied,
41. Denied,
42. Denied,
43. Denied,
44, Denied,
45. Denied,
46. Denied,
47. Denied,
48. Denied,
49. Denied,
50. Information and Belief,
51. Denied,
52. Denied,
53. Denied,
54. Denied,
55. Denied,
56. Denied,
57. Denied,
58. Denied,
59. Denied,
60. Information and Belief,
6l.   Denied,
62. Denied,
63. Denied,
64. Denied,
65. Denied,
66. Denied,
67. Denied,
68. Knowledge or lnformation,
69. Denied,
70. Denied,
71. Denied,
72. Denied,
73. Denied,
74. Denied,
75. Denied,
76. Information and Belief
77. Denied,
78. Denied,
79. Denied.
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                                                      II
                                                      DEFENSE

FIRST DEFENSE:
      This Plaintiff s Summons was not properly served

 SECOND DEFENSE:

         All allegations stated by the Plaintiff s Attorney in this lawsuit was not truth and fact. The
Plaintiff does not have any employment relationship with the Defendant. The Plaintiff and the Defendant
are business partners. I will produce the evidence proving the same at the trial.

        The Plaintiff misled her attorney on this lawsuit and / or the Attorney is filing a frivolous and
baseless lawsuit.

        The employment of the Plaintiff and the Defendant does not exist.



        WHEREFORE defendant              asks   this Court to dismiss the complaint and enter judgment in
 favor ofdefendant.



                                                III
                                                CounrnRcLArMS

After the Plaintiff and the Defendant entered into a business partner agreement, the Plaintiff failed to
comply with the terms and convenant of the agreement. The Plaintiff could not get along with other staff
in the business premises and the Plaintiff hardly appears in the business premises. The Plaintiff refused to
produce her true identif,rcation, disclosed her social security number and her Connecticut massage license
when numerous requests were made. V/hile the Plaintiff knows that she is not an employee at all time, but
she still files such a frivolous lawsuit through an attorney. The only pupose of such baseless f,rling is to
enrich her and her attorney unjustly. I am suing the Plaintiff and her attorney for causing damages to my
business because such a frivolous lawsuit brings. Such damages include money occurred for my
consultation with attorneys and translation assistance and damages to me emotionally and mentally that
the court deems justifiable.



 I declare under penalty ofperjury that the foregoing is true and correct.
               2"d
 Signed this         day of February, 2018


                                    Signature   of
                                    Address: 120 1 Boston Post          l4 Milford, CT 06460
                                    Telephone Number         203-877-9908
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LINITED STATES DISTRICT COURT
DISTzuCT OF CONNECTICUT




         JIN ZHI BI                                                         CASE#       3:   I   8-CV-00023-AVC


                                - against -                                 AFFIRMATION OF SERVICE
        ABC CORP.. OIN ru XIA




I,   Qtrint your nqme)   Qlll   IIJ   XIA                                          , declare under penalty of perjury that           I
served a copy of the attached (tist the names of                  the documents   youserve$ : ANSWER TO SUMMONS
AND NOTICE OF APPEARANCE



upon all other parties in this case by                      @tate how you seryed the documents,        for example, hand delivery,
mail, overnight express) FIRST CLASS MAIL                   THROucu/Á¿NITED STATES POSTAL SERVICE to the
following persons (list the names             and addresses of the people youserved)

JIAN HANC, HANG &ASSOCìATED, PLLC I36-I8 39TI AVENUE SUITE                 IOO3   FI-USHING. NY I I354




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